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AFFIDAVIT IN SUPPORT OF A COMPLAINT FOR FORFEITURE

I, Richard Littrell, being duly sworn, depose and state as follows:
Background of Affiant

1. I am a Special Agent (“SA”) with the Internal Revenue Service - Criminal
Investigation (“IRS-CI”) and have been so employed since April 2009. I am currently assigned
to the St. Louis Field Office and primarily conduct money laundering investigations as part of
the Kansas City Metro Organized Crime Drug Enforcement Task Force (““OCDETF”) Strike
Force. My duties and responsibilities as a SA include conducting investigations of alleged
criminal violations found in Title 18, Title 26, and Title 31 of the United State Code.

2. I am a “federal law enforcement officer” within the meaning of Federal Rule of
Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing criminal laws
and duly authorized by the Attorney General to request search warrants.

3. During my assignment as a SA with IRS-CI, I completed the Criminal Investigator
Training Program at the Federal Law Enforcement Training Center and the Special Agent Basic
Training program conducted by the IRS’s National Criminal Investigator Training Academy. I
have received extensive training in, and have participated in, a variety of complex financial
investigations, including tax fraud and money laundering. J have also received extensive training
in, and conducted, search and seizure warrants. In addition to my training and experience, I hold
Bachelor of Science degrees from the University of Kansas in Accounting and Business
Administration and a Master’s Degree from the University of Kansas in Accounting. I am also a
Certified Public Accountant (Inactive) in the State of Missouri.

4. Because this affidavit is being submitted for the limited purpose of establishing

probable cause I have not included every detail nor every aspect of the investigation in this
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affidavit. Rather, it only includes the information necessary to establish probable cause to
support a civil forfeiture complaint.
The Investigation

5. On August 4, 2023, a referral was made by Kansas Adult Protective Services
(APS) regarding victim Kelly Chenoweth (Chenoweth). Chenoweth provided information to
the Olathe Police Department on November 1, 2023. The initial information from Olathe PD
and APS were provided to Detective Ashley Breshears (IRS TFO). Breshears asked for
Littrell’s assistance due to the large dollar amount of possible fraud involved and to determine
if a federal investigation should be initiated.

6. On January 24, 2024, SA Littrell and TFO Breshears arrived at Chenoweth’s
residence and learned the following information. In October 2022, Chenoweth was going
through a divorce and was on the dating website Zoosk where she met “Randy TENNYSON.”
TENNYSON said that he was from Belgium and sent Chenoweth various photos that he
claimed were of himself. Analysis of the photos revealed that the individual in the photos is in
fact Giorgio Panariello, an Italian comedian, film and stage actor, director, and television
presenter.

7. TENNYSON learned of Chenoweth’s divorce and sent her flowers from Edible
Arrangements. TENNYSON explained to Chenoweth that he had a contract for a job in Abu
Dhabi and sent a copy of the $8,000,000 contract to Chenoweth. The job was set to begin on
November 13, 2022, and was to last one month. A week or two into the contract, TENNYSON
explained that there was an explosion, resulting in the death of four people and critically
injuring two or three others. TENNYSON had to settle out of court for a little over $1,000,000

and TENNYSON sent Chenoweth a copy of the arbitration agreement. TENNYSON was going
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to have to pay out of his own money because his insurance would not cover the workers as they
were only contract workers.

8. TENNYSON asked Chenoweth to login to a bank account so she could send
money to TENNYSON’s attorney in Dubai. While Chenoweth was attempting to login to the
account, she used the wrong password, causing TENNYSON to get locked out of his account.
Chenoweth felt bad for locking TENNYSON out of his account and wanted to help him.
TENNYSON said that for her to fix this, she needed to open cryptocurrency accounts where
TENNYSON ’s clients could send him money owed to him. TENNYSON trusted Chenoweth
and would have his clients send her money so she could wire it to TENNYSON.

9. TENNYSON asked Chenoweth to purchase American Express and iTunes gift
cards so that he would be able to buy food. Chenoweth purchased the cards with her own
money and would send photos of the numbers on the cards to TENNYSON. Chenoweth would
then throw the cards away.

10. | Chenoweth said that Chase Bank, US Bank and Enterprise returned wires she
received from TENNYSON because they were fraudulent. Chenoweth said she had an almost
$9,000 wire she sent from Great Southern Bank to Wells Fargo to TENNYSON which turned
out to be fraudulent. Chenoweth was contacted by a company called Cretex Specialty who told
her the funds were sent to her account fraudulently, so she took out a home equity loan to pay
the company back. Chenoweth said her account at Great Southern Bank was overdrawn $9,000.

11. In May 2023, TENNYSON told Chenoweth about a second lawsuit filed against
him from one of the individuals critically injured in the explosion. Chenoweth was trying to
help TENNYSON raise money for this second lawsuit. TENNYSON sent her a check in the

amount of $500,000 from a company called Barnyard LLC out of Reno, Nevada and Chenoweth
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deposited that check into her Bank. On December 11th, 2023, Chenoweth went into the Bank
of America branch near 95th/Nieman and asked the teller if the check was good. The teller told
Chenoweth there was enough money in the account in which the check was written, so
Chenoweth deposited the check.

12. | Chenoweth checked her account balance on December 12, 2023, and the
$500,000 showed to be available. Approximately two to three hours later, Chenoweth received
a phone call from Bank of America telling her the funds were fraudulent. Chenoweth said she
had already sent $100,000 to a Coin Zoom Crypto account and $49,000 to a bitFlyer crypto
account. Chenoweth said there was still $47,000 left in the bitFlyer account, so she returned the
funds from bitFlyer to Bank of America. Chenoweth then paid $48,000 ($1,000 of her own
money) to Bank of America to cover the fraudulent wire, but her account was still negative
$101,000.00. Bank of America then froze Chenoweth’s account.

13. Chenoweth opened accounts for TENNYSON at Robin Hood, Coin Zoom,
bitFlyer, Enterprise, SOFI, Wells Fargo, Great Southern, US Bank, Chase Bank, Bank Midwest,
Truist, Bank of Blue Valley, and First National Bank and Bank of Omaha. Chenoweth said she
had to fly to Dallas this past September (2023) to open the Truist account because there wasn’t
a local branch. Chenoweth booked the flight through Southwest on her credit card, and she flew
back the same day. Chenoweth has recently opened a new account at Academy Bank because
she knows TENNYSON is a scammer and she wants to have a fresh account at a new bank that
TENNYSON does not know about.

14. Chenoweth estimates that she has lost $246,000 of her own money to
TENNYSON including withdrawing $70,000 from her IRA and $17,000 from her savings

accounts. Chenoweth had to pay taxes for the withdrawal from her IRA.
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15. | TENNYSON told Chenoweth that he was going to be sending her three wires
for $25,000, $66,000, and $135,000 to Chenoweth’s account at Truist Bank. On January 23,
2024, a wire for $25,000 was received by Chenoweth from Jason Ma Alexander. On January
24, 2024, a $66,000 wire was received by Chenoweth from June C Phillips Trust, Susie C
Phillips Trustee. TENNYSON contacted Chenoweth to instruct her on what to do with the
wires. At this point, Chenoweth knew that TENNYSON was a scammer, blocked his number
and changed her phone number.

16. Information was received from BNP Paribas Bank regarding eight suspicious
wires conducted by Susie C. Phillips totaling $386,873. BNP received additional information
from Wells Fargo that Susie Phillips had received funds from Ma Alexander and June C.
Phillips. Law enforcement records show that Jason Ma Alexander is related to Susie Phillips.

17. Information has been received from JP Morgan Chase, Wells Fargo, and
Enterprise Bank and Trust regarding romance scam, business e-mail compromise,
cryptocurrency, and ACH fraud involving Chenoweth’s accounts.

18. | Chenoweth agreed to voluntarily surrender the wires received through
TENNYSON and wrote a check to the US Treasury for $91,000 and provided the check to SA
Littrell on February 2, 2024. The $91,000 turned over to the IRS is the 825; 000, from Jason Ma
Alexander and the $66,000 received from June C Phillips Trust, Susie C Phillips Trustee.

19. On March 26, 2024, SA Littrell received a call from Jason Ma Alexander
(Alexander). Alexander explained that his mother is Susie Phillips Philips: ‘Phillips has a
boyfriend, although he thought they may be engaged. Her boyfriend ran out of money while
overseas and Alexander was instructed by Phillips to send money to a Kelly Chenoweth, who

is a friend of the boyfriend’s translator. Alexander attempted to send money directly to the
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boyfriend, but the wire bounced so a second wire was sent to Chenoweth. In total, Alexander

said that he sent $40,000 to Chenoweth. Alexander withdrew funds from his 401k to send to

Chenoweth.

20.

Alexander indicated that Phillips also sent money to her boyfriend. Alexander

has met Phillips’ boyfriend in-person approximately 18 months ago. Alexander’s

understanding is that the boyfriend is still stuck and cannot make it back to the United States.

9 As set forth herein, Chenoweth was a victim of a romance scam (wire fraud)

perpetrated by TENNYSON, causing her to lose significant amounts of her own money, and
act as an unwitting money mule in receiving funds from Alexander and Phillips.
10. The funds received by Chenoweth are forfeitable pursuant to 18 USC

§981(a)(1)(C) as they constitute proceeds traceable to a violation of 18 USC §1343 (wire fraud).

WA

Richard Littrell, Special Agent
IRS:Cl

Sworn to and subscribed before me this TM giay of June, 2024.

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